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                 Civil Action No. 24-cv-04357

___________________________________________________________________

               IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON: DIVISION
__________________________________________________________

  Elizabeth Thomas

                                  Appellant,
                v.

 P.C.F. Properties in TX, LLC ,

                                      Appellees.
__________________________________________________________
         On Appeal from the United States Bankruptcy Court
         for the Southern District of Texas; Houston Division
               Bankruptcy Case No. 24-03216
__________________________________________________________

              APPELLANTS’ OPENDING BRIEF


                                                    /s/Elizabeth Thomas
                                                     Elizabeth Thomas Pro, Se
                                                    712 H Street NE #2487
                                                    Washington DC 20002
                                                    elizthomas234@gmail.com

                                                          APPELLANT
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                             INTERESTED PARTIES

     The undersigned appellant certifies that the following listed entity are the true

and correct parties to this appeal:


Appellant:                            Elizabeth Thomas

Appellants Counsel:                   Elizabeth Thomas pro,
                                      712 H Street NE #2487
                                      Washington DC 20002

Appellee:                             Non-Existent P.C.F. Properties in TX,LLC.

Counsel for Appellee:                  John V. Burger
                                       Burger Law Firm
                                       4151 Southwest Frwy Suite 680
                                       Houston, TX 77027




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                 STATEMENT REGARDING ORAL ARGUMENT

     Appellant does not seeks oral arguments as the brief submitted to this court

presents no disputed issues of fact in this case. Moreover the Appellee lacks a

legal existence. The issues presented for review are purely questions of law,

involving interpretations of the Bankruptcy Code and interpretations of state law

with regard to the ultimate question of whether the bankruptcy court have

jurisdiction over fictional entities.




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                       I. Statement of Jurisdiction

    On November 4, 2024, Appellant filed a timely “Notice of Appeal” from the

U.S. Bankruptcy Court October 21, 2024, and November 3, 2024 Orders to Show

Cause Orders as they have significant implications on her rights or the

proceedings, and I believe the court made a mistake in issuing it. This Court has

jurisdiction over this appeal pursuant to 28 U.S.C. § 158.

                        II.    Statement of Issue Presented

    ISSUE ONE:          Whether the Bankruptcy Court lacked both personal and
                        subject matter jurisdiction to grant any relief to P.C.F.
                        Properties in TX, LLC who lacks standing due lack of a
                        legal existence just as the dead.


     ISSUE TWO:         Whether the Bankruptcy Court lacked subject jurisdiction
                        over as such to Issue a “Show Cause Order” due lack of
                        an existing debtor.

   ISSUE THREE:           Whether the Bankruptcy Court denied the Appellant her
                         Due Process rights to be heard.




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                 III.   STATEMENT OF FACTS

    On October 10, 2024, Mr. Andersen (the “Defendant”), filed a Notice of

Removal, with the U.S. District Court Clerk, Allan Haye was named as the debtor

however Mr. Andersen in error named parties in two separate cases the former

parties, prior to a July 11, 2024, amendment of the case namely: James Allen,

Allan Haye, Robert L. Thomas vs. PCF Investments Inc., its subsidiary PCF

Properties in Texas LLC., vs. Elizabeth Thomas and James M. Andersen under

former cause No. 2020-35780 and new parties presently before the court namely:

P.C.F. Properties in TX, LLC.1, vs. James M. Andersen, Elizabeth Thomas,

Jasmine B. Jarbis, Jireh Pitts, Monique Moore and Shelvy Spires, under Misc.

Docket No. 2020-35780, as removed from the 80th District Court to the U.S.

District Court for the Southern District of Texas: Houston Division under case No.

24-cv-02999.

      On or about October 12, 2024, the U.S. Deputy Clerk contacted Mr.

Andersen and advised that the October 10, 2024, Notice of Removal filed in the

U.S. Southern District Court of Texas (Houston) is incorrectly filed as one cannot

filed a “case within a case” or named the parties as and/or as shown case No. 24-

cv-02999 . See: Exhibit-1

 ___________________
  1.
     P.C.F. Properties in TX, LLC, alleges to be a Texas limited liability
     company.


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     On October 15, 2024, Mr. Andersen filed a Amended Notice of Removal and

correctly renamed the parties that were presently before the state court prior to

removal as: P.C.F. Properties in TX, LLC1., vs. James M. Andersen, Elizabeth

Thomas, Jasmine B. Jarbis, Jireh Pitts, Monique Moore and Shelvy Spires, Misc

Doc. 2020-35780, from the 80th District Court, Harris County, Texas to the U.S.

District Court for the Southern District of Texas: Houston Division case No. 24-

cv-03875. See: (App. Tab-1 Exhibits pgs. 12-60).

     The October 15, 2024, Amended Notice of Removal removed the Debtor

Allan Haye he was no longer named as a party to the stat court action.

       On June 6, 2024, the Texas Secretary of State, had issued a “Certificate of

Fact” that P.C.F. Properties in TX, LLC., is not a Texas limited liability company,

but instead is a fictional entity that has no legal existence due to never being duly

formed. See: (Exhibit 2 ).

      On or about October 17 2024, the U.S. District Court for the Southern

District of Texas: Houston Division case No. 24-cv-03875, referred the case

styled as P.C.F. Properties in TX, LLC., vs. James M. Andersen, Elizabeth

Thomas, Jasmine B. Jarbis, Jireh Pitts, Monique Moore and Shelvy Spires, Misc

Doc. 2020-35780, to the U.S. Bankruptcy Court Southern District of Texas:

Houston Division case No.. 24-03216. See: (App. Tab 2.).




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   On October 18, 2024, Attorney John V. Burger and the Barry & Sewart PLLC.,

law firm filed a Remand Motion on behalf of the Plaintiff P.C.F. Properties in TX,

LLC. See: ( App. Tab. 3 Exhibits pgs. 75-100).

     On October 21, 2024, Judge Alfredo R. Perez U.S.B.J., issued a “Show Cause

Order” ordering James M. Andersen and Elizabeth Thomas to appear before the

Court on November 5, 2024, in response to Plaintiff P.C.F. Properties in TX, LL,

remand motion which included a request for sanctions. See:(App. Tab 4 ).

     On November 1, 2024, James M. Andersen, filed a Ex Parte Motion to

Withdraw the Reference, (the “Motion”), challenging that the bankruptcy court

lacked subject matter jurisdiction after the amended October 15, 2024, Notice of

Removal, as there is no debtor named in this case and while the scope of

bankruptcy court jurisdiction is broad, it does not encompass claims of non-debtors

against non-debtors, rather, it must be apparent that the resolution of claims could

have any effect upon a bankruptcy estate. Here, there is no evidence that P.C.F.

Properties in Texas LLC claims could have any such effect on debtor Haye’s estate

as his bankruptcy has already been dismissed and he has been removed from the

case on July 11, 2023 and the amended Notice of Removal. See: (App. Tab 5).

 On November 1, 2024,        the Appellant., filed a Motion for Continuance of the

November 5, 2024, hearing on the grounds that on October 17, 22024, she had

emergency surgery and still under medical care in the hospital due to


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complications from the surgery. See: (App. Tab 6).

     On November 3, 2024, Judge Alfredo R. Perez U.S.B.J., amended his “Show

Cause Order” ordering and removed the Appellant from the order so as to move

forward with November 5, 2024, hearing and simply deny Appellant the right to

be heard. See: (App. Tab 7).

      On November 4, 2024, Appellant filed a timely “Notice of Appeal” from the

U.S. Bankruptcy Court October 21, 2024, and November 3, 2024 Orders to Show

Cause as the orders have significant implications on my rights or the proceedings,

and Appellant believe the court made a mistake in issuing it. See: (App. Tab. 8).

                        STANDARD OF REVIEW

   District courts have appellate authority over dispositive orders and judgments

of the bankruptcy court. 28 U.S.C. § 158(a). “District courts, and their adjunct

bankruptcy courts,” enjoy broad jurisdiction over “all civil proceedings arising

under title 11, or “arising in” or “related to” cases under title 11.” In re Bissonnet

Invs., 320 F.3d 520, 525 (5th Cir. 2003) (quoting 28 U.S.C. § 1334(b)). So in

evaluating jurisdiction, this Court need “only to determine whether a matter is at

least ‘related to’ the bankruptcy.” In re Wood, 825 F.2d 90, 93, (5th Cir. 1987). A

matter is “related to” bankruptcy where “the outcome of that proceeding could

conceivably have any effect on the estate being administered in bankruptcy.” Id.




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(cleaned up). See: also In re TXNB Internal Case, 483 F.3d 292, 298 (5th Cir.

2007).

                        SUMMARY OF ARGUMENT

         The State of Texas is the only State in the Union where courts litigants can

litigate with entities like the dead have no legal existence and the courts presume to

have both personal and subject matter jurisdiction over the non-existent fictional

entity claims just as the dead and enter judgments and orders in their favor.

However there is a catch you have to be African American in order to litigate with

a fictional non-existence entity that has never existed due to never being form as

such is no different than litigating with the dead.

                               ARGUMENTS

   a. The Bankruptcy Court lacked both personal and subject matter
      jurisdiction to grant any relief to P.C.F. Properties in TX, LLC who
      lacks standing due lack of a legal existence just as the dead.

   Court’s opinion are based on the recognition that the Constitution restricts

federal jurisdiction to live cases and controversies between at least a plaintiff and

a defendant in order for any court to maintain jurisdiction over a case, a judicially

cognizable live controversy must exist. See: Williams v. Lara, 52 S.W.3d 171, 184

(Tex. 2001) (citing United States v. Munsingwear, Inc., 340 U.S. 36, 39 (1950)).

An actual controversy must exist not only at the time the complaint is filed, but

through all stages of the litigation. See; Burke v. Barnes, 479 U.S. 361, 363


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(1987) (Article III of the Constitution requires that there be a live case or

controversy at the time that a federal court decides the case).

    Appellant argues that on October 21,2024, when bankruptcy court erroneously

issued a “Order to Show Cause” mandating that the Appellant appear before the

court in response to and to answer to the relief requested in pleadings filed on

behalf of Plaintiff P.C.F. Properties in TX, LLC, the bankruptcy court, lacked

jurisdiction to issue said order for the Appellant to appear and answer to the relief

requested by Plaintiff P.C.F. Properties in TX, LLC, because their exist no live

controversy with said plaintiff as they like the dead have no legal existence.

    Appellant argues that on October 21, 2024, the bankruptcy court

lacked jurisdiction to compel her to appear before the court based relief requested

on behalf of Plaintiff P.C.F. Properties in TX, LLC, whom lacked standing before

the court due to the lack of legal existence.

      No court has personal or subject matter jurisdiction over entities that lack a

legal existence due to never being duly formed. Any order or judgment entered in

favor of said entity that had or has no legal existence, is a nullity and is void ab

initio. A judgment or order cannot be rendered against for an entity that does not

exists because it is not a proper party and must be void."); See: Kingman Holdings,

L.L.C. v. Chase Home Fin., L.L.C., 2015 WL 13802564, at *2 (W.D. Tex.Apr. 20,

2015. Courts in Texas, apply the rule that "[c]ivil suits may be maintained only by


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or against parties having an actual or legal existence."See: Bailey v. Vanscot

Concrete Co., 894 S.W.2d 757, 759 (Tex. 1995);( without a legal existence;, no

judgment can be rendered for or against it . See: Smith v. CDI Rental Equipment,

Ltd., 310 S.W.3d 559, 565 (Tex. App.— Tyler 2010).

     To start, the Federal Rules of Civil Procedure differentiates between

corporate existence and capacity. For instance, Rule 17(b)(3)(A) permits courts to

imbue unincorporated associations and partnerships with the capacity to sue. But

this power does not extend to entities that lack legal existence. See: Brown v. Fifth

Jud. Dist. Drug Task Force, 255 F.3d 475, 477 (8th Cir. 2001) (explaining that

“the questions of legal or juridical existence and capacity to sue and be sued are

distinct, and that a group of persons working together for a common purpose must

first be found to have a legal existence before the question of capacity to sue or be

sued can arise”); see also Roby v. Corp. of Lloyd’s, 796 F. Supp. 103, 110

(S.D.N.Y. 1992) (holding that “[c]apacity to be sued and legal existence are

separate and distinct concepts”), aff’d on other grounds, 996 F.2d 1353 (2d Cir.

1993). Compare China Cast Educ. Corp. v. Chen Zhou Guo, No. 15-cv-5475 (AB),

2016 WL 10653269, at *1– 2 (C.D. Cal. Jan. 8, 2016) (explaining that, “[u]nlike a

case where a corporation exists in some form but perhaps lacks a technical capacity

to sue in a particular forum, Plaintiff’s own allegations indicate that Plaintiff may

not legally exist under Delaware law”).


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    Because one elemental precondition for meeting the case-or-controversy

requirement is a claimant with standing, Lujan, 504 U.S. at 560–61, it must be that

the non-existence of the supposed claimant is a problem of constitutional

magnitude, see: In re 2016 Primary Election, 836 F.3d 584, 587 (6th Cir. 2016)

(holding that “[t]here is no plaintiff with standing if there is no plaintiff”); see also

LN Mgmt., LLC v. JPMorgan Chase Bank, N.A., 957 F.3d 943, 953 (9th Cir. 2020)

(same); House v. Mitra QSR KNE LLC, 796 F. App’x 783, 787 (4th Cir. 2019)

(same). Indeed in any court of law a civil action can only be maintained by a legal

person, i.e., a natural person or an artificial or quasi-artificial person, a nonentity is

incapable of suing or being sued or filing lawsuit.

      On June 6, 2024, The Texas Secretary of State, issued a “Certificate of Fact”

that P.C.F. Properties in TX, LLC., is not a Texas limited liability company, but

instead is a fictional entity that has no legal existence due to never being duly

formed. Without legal existence, P.C.F. Properties in TX, LLC., lacked standing

to file any, sort of pleadings or to raise or seek relief or appear be heard before the

bankruptcy court. See: 11 U.S. Code § 1109(b).

     Standing in bankruptcy cases is governed by section 1109(b) of the

Bankruptcy Code since courts have since found that section 1109(b) and Article III

are effectively coextensive. Section 1109(b) provides that “a party in interest . . .

may raise and may appear and be heard on any issue in a case under this chapter.


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11 U.S.C. §1109(b); A “party in interest” is determine by whether a party has a

legally protected interest that could be affected by a bankruptcy proceeding by

showing an Article III injury-in-fact requirement and section 1109(b).

    A non-existent entity just as the dead could never have legally protected

interest that could be affected by a bankruptcy proceeding by showing an Article

III injury-in-fact requirement and section 1109(b) having no legal existence. After

all, “[t]he most elemental requirement of adversary litigation is that there be two or

more parties,” meaning that “[a]bsent a plaintiff with legal existence, there can be

no Article III case or controversy.” House v. Mitra QSR KNE LLC, 796 F. App’x

783, 787 (4th Cir. 2019) (quoting Wright & Miller § 3530); See: also LN Mgmt.,

LLC v. JPMorgan Chase Bank, N.A., 957 F.3d 943, 953 (9th Cir. 2020)

(concluding that it is “obvious” that “the dead lack the capacities that litigants must

have to allow for a true Article III case or controversy”); Hernandez v. Smith, 793

F. App’x 261, 265 (5th Cir. 2019) (plaintiff “did not have standing to sue because

she was deceased”); In re 2016 Primary Election, 836 F.3d 584, 587 (6th Cir.

2016) (“[O]ne elemental precondition for meeting the case-or-controversy

requirement is a claimant with standing. There is no plaintiff with standing if there

is no plaintiff.” (internal citation omitted)); cf. Billino v. Citibank, N.A., 123 F.3d

723, 725 (2d Cir. 1997) (explaining that it was a jurisdictional error for the appeal

to be brought only in the name of a dead party as a “deceased plaintiff simply no


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longer has a cognizable interest in the outcome of litigation”).

      Based on the forgoing the court should find that the bankruptcy lack

jurisdiction to issue the order to show cause.

       B.    The Bankruptcy Court lacked subject jurisdiction over as such to
            Issue a “Show Cause Order” due lack of an existing debtor.

       Appellant argues that the bankruptcy court lacked jurisdiction to compel her

to appear before the court because on or about October 17, 2024, the U.S. District

Court erroneously referred the case to the bankruptcy after Mr. Andersen on

October 15, 2024, Amended of the Notice of Removal, (the “Adversary

Complaint”) which effectively removed debtor Allan Haye from the case prior to

the referral.

      Mr. Andersen filed an Amended Notice of Removal as it was necessary to

reflect the actual parties that were presently before the state court prior to the

removal. On July 11, 2024, per trial court the case formerly styled as James Allen,

Allan Haye, Robert L. Thomas vs. PCF Investments Inc., its subsidiary PCF

Properties in Texas LLC., vs. Elizabeth Thomas and James M. Andersen, under

cause No. 2020-35780, was amended to P.C.F. Properties in TX, LLC., (the

“Plaintiff”) vs. James M. Andersen, Elizabeth Thomas, Jasmine B .Jarbis, Jireh

Pitts, Monique Moore and Shelvy Spires, MISC. Doc. No. 2020-35780.

     The October 15, 2024, amendment effectively removed debtor Allan Haye

from the case because as of July 11, 024, he no longer named as a party the state
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court action. Their exists no debtor in this case or any claims against any debtor

that “arise under" Title 11 or "arise in" or "relate to" a bankruptcy case.

Accordingly, subject matter jurisdiction over this case does not exist.

    More specifically: “For jurisdiction to attach, the anticipated outcome of the

action must both (1) alter the rights, obligations, and choices of action of the

debtor, and (2) have an effect on the administration of the estate.” Id. “A

conceivable effect in this context is any that could alter the debtor’s rights,

liabilities, options, or freedom of action (either positively or negatively) and which

in any way impacts upon the handling and administration of the bankrupt

estate.”See: Fire Eagle LLC v. Bischoff (In re Spillman Dev. Grp.), 710 F.3d 299,

304 (5th Cir. 2013) (quotation omitted); see also Arnold v. Garlock, Inc., 278 F.3d

426, 434 (5th Cir. 2001) (“Certainty, or even likelihood[,] of such an effect is not a

requirement.”).

     There is no debtor named in this case and while the scope of bankruptcy court

jurisdiction is broad, it does not encompass claims of non-debtors against non-

debtors, rather, it must be apparent that the resolution of claims could have any

effect upon a bankruptcy estate. Here, there is no evidence that P.C.F. Properties

in Texas LLC claims could never have had any such effect on Haye’s estate after

being non-suited through a amendment. See generally In re Baltic Associates,

L.P., 149 B.R. at 95.


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       On or about October 17, 2024, this case was improperly referred and

commence as an adversary proceeding in the bankruptcy court despite lack of

subject matter jurisdiction due to the lack of existing debtor. Non-Existent P.C.F.

Properties in Texas LLC’s, non-bankruptcy state law claims are not related to any

pending bankruptcy case and do not "arise under" Title 11 or "arise in" or "relate

to" a bankruptcy case.

     This statutory language makes clear that the power of the district court to

initially refer a proceeding is limited to those over which bankruptcy subject matter

jurisdiction exists pursuant to section 1334(b). A bankruptcy subject matter

jurisdiction exists over debtors or claims against debtors. Thus, a district court

may not properly refer to the bankruptcy court any civil proceedings over which

they lack subject matter jurisdiction were as here their exist no debtors or existing

claims against a debtor.

     Non-Existent P.C.F. Properties in Texas LLC’s, non-bankruptcy law claims

does not be related to any pending bankruptcy case as such do not "arise under"

Title 11 or "arise in" or "relate to" a bankruptcy case. The power of the district

court to initially refer a proceeding is limited to those over which bankruptcy

subject matter jurisdiction exists pursuant to section 1334(b).        A bankruptcy

subject matter jurisdiction exists over debtors or claims against debtors. Thus, a

district court may not properly refer to the bankruptcy court all civil proceedings


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over which it may have subject matter jurisdiction.

   Instead, such a referral is limited by § 1334(b) to cover only those proceedings

that "arise under" Title 11 or "arise in" or "relate to" a bankruptcy case. See, e.g.,

In re Williams, 244 B.R. 858, 865-66 (S.D. Ga. 2000) ("The jurisdiction of

bankruptcy courts, as § 157's terms make clear, is derivative: They can only

exercise jurisdiction if that jurisdiction has been first granted to the district courts

pursuant to 28 U.S.C. § 1334"), aff'd sub nom. Williams v. Sears, Roebuck Co.,

___ F.3d ___, 2002 WL 649108 (11th Cir. 2002) (Table); In re Foundation for

New Era Philanthropy, 201 B.R. 382, 398 ("If a proceeding is unrelated to the

bankruptcy case, the district court has no authority to refer it to a bankruptcy judge

— even if the proceeding falls within some other federal jurisdictional grant"); see

also United States v. One Parcel of Real Property, Commonly Known as Star

Route Box 1328, Glenwood, Washington County, Oregon, 137 B.R. 802,

805 (D.Or. 1992); In re JMP-Newcor International, Inc., 225 B.R. 457,

460 (Bankr. N.D. Ill. 1998). For the reasons mentioned above bankruptcy court

subject matter jurisdiction does not lie.

       C.    The Bankruptcy Court denied the Appellant her Due Process
             rights to be heard.

   The Fifth Amendment vest the Appellant with procedural due process rights at

the federal level which includes not only notice of the action being taken against

them but also an opportunity to be heard meaning Appellant must be given a
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chance to respond to the action being taken against her.

     On October 21, 2024, Judge Alfredo R. Perez U.S.B.J., issued a “Show Cause

Order” ordering Elizabeth Thomas to appear before the Court on November 5,

2024, in response to Non-Existent Plaintiff P.C.F. Properties in TX, LL, motion

which included a request for sanctions.

   On November 1, 2024, the Appellant, filed a Motion for Continuance of the

November 5, 2024, show cause hearing on the grounds that on October 17, 2024,

she had emergency surgery and was still under medical care in the hospital due to

complications from the surgery.

     On November 4, 2024, Judge Alfredo R. Perez U.S.B.J, amended the “Order

to Show Cause,” and excuses Defendant Thomas from appearing at the show cause

hearing scheduled for November 5, 2024.

     Appellant argues that she never filed any pleading before the bankruptcy court

seeking to be “excused” from the show cause hearing scheduled for November 5,

2024. Instead Appellant filed a motion for a continuance seeking that court show

cause hearing scheduled for November 5, 2024, be continued to another date to

give the Appellant the opportunity to exert her due process rights to be hard on any

judgment or order of the court that will have affect on the appellant.

    Due process at a minimum requires notice and an opportunity to be heard at a

meaningful time and in a meaningful manner. See: Mathews v. Eldridge, 424 U.S.


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319, 333 (1976); Mullane v. Central Hanover Trust Co., 339 U.S. 306 (1950).

Procedural due process involves the preservation of both the appearance and reality

of fairness so that "no person will be deprived of his interests in the absence of a

proceeding in which he may present his case with assurance that the arbiter is not

predisposed against him." Marsahll v. Jerrica, Inc., 446 U.S. 238 91980). Id. at

2259 (citing Withrow v. Larkin, 421 U.S. 35, 47 (1975)).

     For the reasons mentioned above bankruptcy court denied the Appellant her

due process rights to be heard.

                                  CONCLUSION

WHEREFORE, PREMISES CONSIDERED, the Appellant prays that the Court

finds that the bankruptcy court lack jurisdiction to issue a order show cause on

behalf of Plaintiff/Appellee P.C.F. Properties in TX. LLC whom lack standing due

having no legal existence, the bankruptcy court lack jurisdiction due to the lack of

a debtor and the bankruptcy court denied the Appellant her due process rights to be

heard by failing to continue the November 5, 2024 hearing and such further relief

the court deems just and proper.

                                                   Respectfully submitted,

                                                       /s/Elizabeth Thomas
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                   CERTIFICATE OF COMPLIANCE

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                                               /s/Elizabeth Thomas


                         CERTIFICATE OF SERVICE

      I hereby certify that on February 12, 2025, a true and correct copy of the
foregoing instrument transmission via the Court’s CM/ECF system upon all parties
registered to receive electronic notice of this appeal case.

                                              /s/Elizabeth Thomas




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